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14   Attorneys for Defendants
15                              UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
17                             SAN FRANCISCO DIVISION
     __________________________________________
18                                              )
19   EASTON STOKES,                            )  C-19-4613 WHA
                                               )
20         Plaintiff,                          )
                       v.                       )
21                                              ) NOTICE OF APPEARANCE
22   UNITED STATES DEPARTMENT                  )
           OF JUSTICE, et al.,                 )
23                                             )
           Defendants.                         )
24
     __________________________________________)
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     Stokes v. DOJ, et al.                                                     1
     Notice of Appearance
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               Case 3:19-cv-04613-WHA Document 75 Filed 11/19/20 Page 2 of 2




 1           Please take notice of the appearance of the following counsel on behalf of the Defendants
 2   in the above captioned case:
 3
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 9
10           Assistant United States Attorney Julie Bibb Davis continues to represent Defendants as
11   lead counsel in this matter.
12
13   Dated: November 19, 2020                     Respectfully submitted,
14
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15                                                Acting Assistant Attorney General

16                                                DAVID L. ANDERSON
                                                  United States Attorney
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18                                                LESLEY FARBY
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20                                                       /s/ Eric J. Soskin
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     Stokes v. DOJ, et al.                                                                   2
     Notice of Appearance
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